                                             Case 3:21-cv-01911-CRB Document 44 Filed 09/17/21 Page 1 of 2




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                                   8                                     UNITED STATES DISTRICT COURT

                                   9                                    NORTHERN DISTRICT OF CALIFORNIA

                                  10                                           San Francisco Division

                                  11       SECURITIES AND EXCHANGE                            Case No. 21-cv-01911-CRB (LB)
                                           COMMISSION,
                                  12
Northern District of California




                                                          Plaintiffs,
 United States District Court




                                                                                              NOTICE AND ORDER REGARDING
                                  13                                                          DISCOVERY PROCEDURES
                                                   v.
                                  14                                                          Re: ECF No. 43
                                           JESSICA RICHMAN, et al.,
                                  15
                                                          Defendants.
                                  16

                                  17         The district judge referred all discovery matters to the undersigned. 1 Defendant Jessica

                                  18   Richman has filed a motion to quash non-party subpoenas duces tecum and for a protective order. 2

                                  19   The parties must comply with the undersigned’s standing order (attached). The dispute procedures

                                  20   in it require, among other things, that if a meet-and-confer by other means does not resolve the

                                  21   parties’ dispute, lead counsel for the parties must meet and confer in person (if counsel are local)

                                  22   and then submit a joint letter brief with information about any unresolved disputes. The letter brief

                                  23   must be filed under the Civil Events category of “Motions and Related Filings > Motions –

                                  24   General > Discovery Letter Brief.” After reviewing the joint letter brief, the

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                                        Order – ECF No. 43. Citations refer to material in the Electronic Case File (ECF); pinpoint citations
                                       are to the ECF-generated page numbers at the top of documents.
                                  28   2
                                           Mot. – ECF No. 42.

                                       ORDER – No. 21-cv-01911-CRB (LB)
                                             Case 3:21-cv-01911-CRB Document 44 Filed 09/17/21 Page 2 of 2




                                   1   undersigned will evaluate whether further proceedings are necessary, including any further

                                   2   briefing or argument. The court thus denies without prejudice the motion to quash in favor of this

                                   3   process.3

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                                   5         IT IS SO ORDERED.

                                   6         Dated: September 17, 2021

                                   7                                                        ______________________________________
                                                                                            LAUREL BEELER
                                   8                                                        United States Magistrate Judge
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                                  12
Northern District of California
 United States District Court




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                                           The court adds that it also uses the discovery procedures for third-party objections to subpoenas.

                                       ORDER – No. 21-cv-01911-CRB (LB)                      2
